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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                        EASTERN DISTRICT OF CALIFORNIA
10

11
     REY CARTAS VELASQUEZ, et al.,                    CASE NO. 2:01-CV-0246 MCE-DAD
12
                                 Plaintiffs,
13
                           v.
14
     MOHAMMED KHAN, a.k.a. MOHAMMED
15   NAWAZ KHAN d/b/a KHAN LABOR
     CONTRACTOR, et al.,
16
                                 Defendants.
17
     UNITED STATES OF AMERICA,                        CASE NO. 2:12-CR-0180 MCE
18
                                 Plaintiff,
19
                           v.
20
     MOHAMMAD NAWAZ KHAN, et al
21
                                 Defendants.
22
     UNITED STATES OF AMERICA,                        CASE NO. 2:12-CR-0300 MCE
23
                                 Plaintiff,
24
                           v.
25
     RYAN HERBERT SMITH, et al.,
26
                                 Defendants.
27

28

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 1   UNITED STATES OF AMERICA                                 CASE NO. 2:13-CR-0006 MCE

 2                                  Plaintiff,

 3                           v.

 4   JIT KAUR, et al,

 5                                 Defendants.

 6   UNITED STATES OF AMERICA                                 CASE NO. 2:13-CR-00275 MCE

 7                                  PLAINTIFF,

 8                           V.

 9   GURCHET SANDHU, et al,

10                                 DEFENDANTS.

11   UNITED STATES OF AMERICA                                 CASE NO. 2:14-CR-00169 KJM

12                                  PLAINTIFF,

13                           V.

14   MOHAMMAD RIAZ KHAN, et al,

15                                 DEFENDANTS.

16

17                                                        ORDER

18           The Court has received the Notice of Related Case filed on June 25, 2014. Examination of the

19   above-entitled civil and criminal actions reveals that these actions are related within the meaning of Local

20   Rule 123(a) (E.D. Cal. 1997). The actions involve many of the same defendants and are based on the same or

21   similar claims, the same property transaction or event, similar questions of fact and the same questions of

22   law, and would therefore entail a substantial duplication of labor if heard by different judges.

23           Accordingly, the assignment of the matters to the same judge is likely to effect a substantial savings

24   of judicial effort and is also likely to be convenient for the parties.

25           The parties should be aware that relating the cases under Local Rule 123 merely has the result that

26   both actions are assigned to the same judge; no consolidation of the action is effected. Under the regular

27   practice of this court, related cases are generally assigned to the district judge and magistrate judge to whom

28   the first filed action was assigned.

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 1          IT IS THEREFORE ORDERED that the actions denominated 2:14-cr-00169-KJM, United States of

 2   America v. Mohammad Riaz Khan, et al., is reassigned to Chief Judge Morrison C. England, Jr., for all

 3   further proceedings, and any dates currently set in this reassigned case only are hereby VACATED.

 4   Henceforth, the caption on documents filed in the reassigned cases shall be shown as 2:14-cr-00169-MCE.

 5   This matter is set for a status conference on July 10, 2014 at 9:00 a.m. in Courtroom 7 before the

 6   undersigned.

 7          IT IS FURTHER ORDERED that the Clerk of the Court make appropriate adjustment in the

 8   assignment of criminal cases to compensate for this reassignment.

 9          IT IS SO ORDERED.

10   Dated: July 2, 2014

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